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                EXHIBIT B
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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

                                                              )
In re:                                                        )    Chapter 11
                                                              )
ENERGY FUTURE HOLDINGS CORP., et al.,1                        )    Case No. 14-10979 (CSS)
                                                              )
                          Debtors.                            )    (Jointly Administered)
                                                              )

          DECLARATION OF KRISTOPHER E. MOLDOVAN IN SUPPORT
    OF CONFIRMATION OF THE THIRD AMENDED PLAN OF REORGANIZATION




1
    The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
    debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
    chapter 11 cases, for which joint administration has been granted, a complete list of the debtors and the last four
    digits of their federal tax identification numbers is not provided herein. A complete list of such information
    may be obtained on the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com.
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        Pursuant to 28 U.S.C. § 1746, I, Kristopher E. Moldovan, hereby declare as follows

under penalty of perjury:


        1.       I make this Declaration in support of Energy Future Holdings Corp., et al. for

confirmation of the Third Amended Joint Plan of Reorganization of Energy Future Holdings

Corp., et al., Pursuant to Chapter 11 of the Bankruptcy Code [D.I. 9199-1] (the “Plan”).2

        2.       I am the Assistant Treasurer of every Debtor other than Energy Future Holdings

Corp. (“EFH Corp.”). I am also the Assistant Treasurer of EFH Properties Company (“EFH

Properties”), a non-Debtor.

        3.       The Plan contemplates the transfer of all of EFH Corp.’s equity interests in EFH

Properties to Reorganized TCEH (the “EFH Properties Equity Transfer”), with all of the cash

held by EFH Properties immediately prior to such transfer (net of the amount, if any, required to

be paid by EFH Properties to the Environmental Protection Agency under the terms of a

proposed settlement) being distributed or otherwise transferred to EFH Corp. or a subsidiary or

other affiliate designated by EFH Corp., and all intercompany claims held by the Debtors against

EFH Properties being released. These contemplated transfers are primarily being effectuated

through the Separation Agreement and the Plan. I understand that the EFH Indenture Trustee has

objected to this aspect of the Plan and argued that EFH Corp. should be compensated for the

EFH Properties Equity Transfer. In this declaration, I provide background on EFH Properties, its

financial history, and certain factors that impact its projected cash flow. I understand that the

Declaration of Paul Keglevic in Support of Confirmation of the Third Amended Plan of

Reorganization discusses the factors that management and EFH Corp.’s Board of Directors

considered in approving the EFH Properties Equity Transfer.

2
    Capitalized terms used but not defined herein have the meanings assigned to them in the Plan.



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I.       EFH Properties Background.

         4.       EFH Properties, a direct subsidiary of EFH Corp., does not own the Company’s

headquarters building, Energy Plaza. Rather, EFH Properties leases the entire Energy Plaza

building pursuant to a Lease Agreement dated as of February 14, 2002 (as amended, the

“Lease”) and subleases a portion of the space to the Company. The Lease was executed in

connection with a 2002 leveraged lease transaction, which included the following parties, among

others: TXU Properties Company (now EFH Properties), as the lessee; an affiliate of Zurich

Structured Finance, Inc., as the owner-participant of the lessor (the “Owner-Lessor”), and The

Prudential Insurance Company of America, as one of the original noteholders (the

“Noteholder”).3 The Noteholder is currently the sole remaining noteholder.

         5.       The Owner-Lessor purchased the Energy Plaza building primarily with the

proceeds of notes funded by the original noteholders, including the Noteholder (collectively, the

“Original Noteholders”), with such notes being secured by the Lease and the Owner-Lessor’s

interest in the Lease.4 As described herein, the Lease imposes obligations on EFH Properties to

make base rent payments to the Owner-Lessor—which has matching payment obligations to the

Noteholder—as well as supplemental rent payments. The current terms of the Lease are also the

product of a series of historical transactions involving EFH Corp., TCEH, and EFH Properties, as

detailed infra. These transactions factored into the decision not to file EFH Properties as a

Debtor in the Company’s chapter 11 cases.


3
     See DX574 Nov. 2, 2004 Letter from Zurich Global Investment Advisors to TXU re Lease Dated Feb. 14, 2002
     [EFH06365193 at EFH06365280-81]; see also DX579 June 2007 First Amendment to Surety Bond
     [EFH06365429]; DX578 June 1, 2007 First Amendment to Indenture and Servicing Agreement and to Secured
     Notes [EFH06365416 at EFH06365421]; DX580 Feb. 14, 2002 Indenture and Servicing Agreement
     [EFH06365433 at EFH06365588]; DX582 Feb. 14, 2002 ZSF/Dallas Tower Trust Senior Secured Notes due
     Feb. 14, 2014 [EFH06365603].
4
     See id.



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II.       The 2009 TCEH Letter of Credit Draw.

          6.      At the time of execution of the Lease, TXU Corp. (now EFH Corp.) provided a

guarantee for all of EFH Properties’ obligations under the Lease and the related documents

(collectively, the “Lease Documents”).5 However, following the filing later in 2002 by TXU

Europe Limited, a subsidiary of EFH Corp., of a petition for administration under the laws of

England and Wales, TXU Energy Company LLC (now TCEH) provided a second guarantee of

EFH Properties’ obligations under the Lease Documents in order to induce the Original

Noteholders to waive the Event of Default caused by such filing.6                      Then, following the

announcement of the Company’s 2007 LBO, TCEH’s credit ratings were downgraded such that

it no longer complied with the Acceptable Guarantor requirement as set forth in the Lease

Documents.7

          7.      The Lease Documents required either a new guarantee from an investment grade

company or a Qualified Letter of Credit from an Acceptable Bank, each as defined in the Lease

Documents.8 In June 2007, the parties revised certain of the Lease Documents, and, in exchange

for the release of the guarantees from TCEH and EFH Corp., TCEH provided a letter of credit




5
      See DX574 Nov. 2, 2004 Letter from Zurich Global Investment Advisors to TXU re Lease Dated February 14,
      2002 [EFH06365193 at EFH06365287-88]; DX494 Feb. 14, 2002 Energy Plaza Lease - Parent Guaranty
      Agreement [EFH06364057].
6
      See DX493 Nov. 19, 2002 Energy Plaza Lease - Additional Guaranty Agreement [EFH06364019].
7
      See DX512 Mar. 8, 2007 Notice of Ratings Decline [EFH06364212]; see also DX515 Feb. 23, 2007 Request
      for Release of Guarantor [EFH06364218].
8
      See DX494 Feb. 14, 2002 Energy Plaza Lease - Parent Guaranty Agreement [EFH06364057 at EFH06364067-
      70]; DX574 Nov. 2, 2004 Letter from Zurich Global Investment Advisors to TXU re Lease Dated Feb. 14, 2002
      [EFH06365193 at EFH06365229].



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from JP Morgan which secured the payment obligations under the Lease (the “TCEH Letter

of Credit”).9

         8.      In 2009, JP Morgan, which had resigned as a letter of credit issuer under TCEH’s

credit facility, delivered a notice of non-renewal to the beneficiary of the TCEH Letter of Credit.

TCEH then attempted unsuccessfully to find an Acceptable Bank to issue a replacement letter of

credit. In May 2009, EFH Properties sought to have the Owner-Lessor accept a new letter of

credit directly from Citibank, N.A., and sought to renegotiate the Lease Documents to

accommodate that Citibank, N.A. did not at that time meet the requirements of an Acceptable

Bank.10 However, the parties could not reach a resolution and in May 2009 the beneficiary drew

on the TCEH Letter of Credit for the full amount of remaining undiscounted base rent

obligations, plus $5 million—approximately $115 million in total.11

         9.      When the TCEH Letter of Credit was drawn, intercompany payables and

receivables were created on the general ledger from EFH Corp. to TCEH in the amount of $115

million (the “TCEH Receivable”) and from EFH Properties to EFH Corp. in the amount of $115

million (the “EFH Corp. Receivable”).12 No formal loan agreements or notes were executed

memorializing these payables and receivables at the time of their creation—they were solely


9
     See DX514 May 31, 2007 Request for Issuance of Letter of Credit [EFH06364215]; DX491 June 1, 2007
     Energy Plaza Lease - Master Letter Agreement [EFH04753643]; DX578 June 1, 2007 First Amendment to
     Indenture and Servicing Agreement and to Secured Notes [EFH06365416]; DX579 June 1, 2007 First
     Amendment to Surety Bond [EFH06365429].
10
     See DX575 Jan. 29, 2009 Letter from Horton to EFH Properties Company re Energy Plaza Lease Pass-through
     test [EFH06365403]; DX528 May 2009 Lease Agreement (Unexecuted) [EFH06364636]; DX530 May 2009
     Second Amendment to Lease Agreement (Unexecuted) [EFH06364650].
11
     See DX519 EP Lease LOC Draw Transactions Excel [EFH06364227]; DX572 EP Lease Note on LOC Excel
     [EFH06365021 at “Email2” Tab]; DX581 May 12, 2009 Perkins Email to Trala re LOC TPTS-333459 -
     Wachovia [EFH06365601].
12
     See DX519 EP Lease LOC Draw Transactions Excel [EFH06364227]; DX572 EP Lease Note on LOC Excel
     [EFH06365021]; DX356, Apr. 30, 2016 EFH Properties Balance Sheet [EFH06360659].



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booked as intercompany accounting entries.                 The TCEH Receivable was subsequently

incorporated into the SG&A Note between EFH Corp. and TCEH, and then ultimately paid in

full between 2010 and 2012. However, the $115 million EFH Corp. Receivable has remained

outstanding, and has accrued interest at a rate of LIBOR plus 500 bps since May 2009. EFH

Properties has never made a payment to reduce the EFH Corp. Receivable. The EFH Corp.

Receivable currently totals approximately $158 million.13

         10.      EFH Properties’ rent obligations include base rent and supplemental rent. As a

result of the draw on the TCEH Letter of Credit, EFH Properties no longer pays base rent—it has

been prepaid in full. Instead, funds are drawn on a noteholder escrow account maintained at

Wells Fargo, the servicer of the outstanding debt, which escrow account was funded by the draw

on the TCEH Letter of Credit.14 EFH Properties has disclaimed any interest in the escrow

accounts that hold the proceeds of the TCEH Letter of Credit draw.15

         11.      EFH Properties does continue to pay supplemental rent under the terms of the

Lease Documents, including certain fees and costs associated with maintenance of the escrow

accounts, as well as all operating and capital expenditures related to running and maintaining the

building and all costs and expenses incurred by the Owner-Lessor, among others, with respect to

the Lease.16


13
     See DX356, Apr. 30, 2016 EFH Properties Balance Sheet [EFH06360659].
14
     See, e.g. DX583 Aug. 19, 2009 Letter from Wells Fargo to EFH Properties Company re Letter Agreement dated
     June 1, 2007 [EFH06365621]; DX576 Feb. 14, 2012 - Feb. 16, 2016 Letters from Wells Fargo to EFH
     Properties Company re Semiannual Payments [EFH06365406]; DX508 Form of Notice Letter to Energy Future
     Holdings re Lease Payments [EFH06364189].
15
     See, e.g. DX491 June 1, 2007 Master Letter Agreement, [EFH04753643 at EFH04753649], Section 4(b)(iii)(A)
     (“The Lessee shall not have any interest whatsoever in any funds from time to time in the Secured Note
     Payment Account or the LOC Proceeds Account.”).
16
     See DX574 Nov. 2, 2004 Letter from Zurich Global Investment Advisors to TXU re Lease Dated February 14,
     2002 at §§ 3.2, 8.11 [EFH06365193 at EFH06365209, EFH06365226].



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III.       EFH Properties Did Not File For Bankruptcy.

           12.      EFH Properties and its advisors extensively considered the benefits and

drawbacks of filing EFH Properties for chapter 11 in April 2014 and again in 2015.17 EFH

Properties and its advisors evaluated three primary options: (1) file EFH Properties for chapter

11 and seek to protect the segregated cash as EFH Properties evaluated its in-court restructuring

alternatives with respect to the Lease; (2) file EFH Properties for chapter 11 and seek to reject

the Lease, which would potentially (a) allow EFH Properties to recover the segregated cash and

(b) require EFH Properties to pay the Owner-Lessor damages associated with the rejection; or

(3) do not file for chapter 11 and continue negotiations to restructure the Lease with the Owner-

Lessor and Noteholder.

           13.      Ultimately EFH Properties determined not to file for bankruptcy. Key factors in

that decision included that EFH Properties—and its subtenants—would have to vacate Energy

Plaza within months of a potential filing; the substantial uncertainty regarding EFH Properties’

ability to recover the segregated cash in connection with a chapter 11 filing; and potentially

significant rejection damages if EFH Properties filed for bankruptcy and determined to reject

the Lease.18

IV.        EFH Properties Cash Flow Considerations.

           A.       Energy Plaza Subtenants.

           14.      EFH Properties’ cash flow primarily consists of rent payments from its

subtenants, less expenses to operate and maintain the building (i.e., utilities, security,

17
       See, e.g. DX553 Aug. 31, 2015 EFH Properties Company - Next Step Considerations Presentation
       [EFH06364854]; DX555 Feb. 9, 2014 Project Olympus - Energy Plaza Lease Considerations Presentation
       [EFH06364866]; DX549 Dec. 2014 EFH Properties Filing Considerations Presentation [EFH06364780];
       DX365 Mar. 2015 Energy Plaza Lease Assumption Considerations Presentation [EFH06364733].
18
       See id.



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maintenance, janitorial, and property taxes). Due to the draw on the TCEH Letter of Credit

previously discussed, the base rent obligations owed on account of Energy Plaza do not have a

cash flow impact on EFH Properties, but supplemental rent obligations do. Currently, EFH

Properties generates approximately $600,000 positive cash flow per month, but as discussed

below, this amount is expected to decline in future months.

         15.     EFH Corporate Services Company (“EFH Corporate Services”), the Federal

Deposit Insurance Corporation (the “FDIC”), and Oncor Electric Delivery Company LLC

(“Oncor”) are the significant subtenants at Energy Plaza, with Luminant Generation Company

LLC (“Luminant”) being a sub-subtenant of Oncor.                   As illustrated below, EFH Corporate

Services, the FDIC, and Oncor make rent payments to EFH Properties, which serves as the

sublessor to the subtenants (Luminant makes rent payments to Oncor, as opposed to directly

making payments to EFH Properties):19




19
     See DX048 July 27, 2016 Board Presentation [EFH06365761 at EFH06365783]; DX385 Sept. 2015 2016-22
     LRP Review - EFH Board [EFH06365622]; DX457 Sept. 6, 2011 Sub-Sublease between Oncor and Luminant
     [EFH01614773]; see also DX057 July 22, 2016 Board Presentation [EFH06365720 at EFH06365737]. I helped
     prepare both the July 22, 2016 and July 27, 2016 Board Presentations, and DX048 and DX057, respectively, are
     true and accurate copies thereof. The $6.92 million Annual Rent Payment reflected for the EFH Properties
     Master Lease represents base rent only.




                                                        9
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         16.     These sublease payments help EFH Properties fulfil its substantial obligations

under the Lease to maintain and operate the building, which it does without any reimbursement

from the Owner-Lessor.

         B.      Energy Plaza Costs.

         17.     EFH Properties’ costs to operate Energy Plaza include maintenance, janitorial,

utilities, security, and property tax expenses (all of which are payable by EFH Properties and

none of which are payable by the Owner-Lessor).20 In evaluating the transfer of EFH Properties

to Reorganized TCEH, the Company’s management and Joint Board of Directors thus

considered the potential for material changes in EFH Properties’ projected revenue streams as

well as material changes in its projected operating and capital expenses.21

         18.     The Facilities Group of EFH Corporate Services is responsible for day-to-day

management of Energy Plaza, including the retention and oversight of an outside property

management company, while the Company’s management and Board of Directors ultimately

make planning decisions. In addition, EFH Properties employs Jones Lang LaSalle to advertise

to and recruit subtenants. In general terms, the Debtors are in the power business—they do not

want to be in the landlord business.          Given the costs and responsibilities associated with

operating and maintaining Energy Plaza, the Debtors have engaged Jones Lang LaSalle on

multiple occasions to evaluate alternative space in an effort to shed costs associated with EFH

Properties.

         19.     For example, in 2014 and early 2015, I worked with our Facilities Group and

Jones Lang LaSalle to evaluate a potential move out of Energy Plaza. During that process, I was


20
     See DX577 May 2014 - June 2016 EFH Properties Bank Activity Reports [EFH06365415].
21
     See DX048 July 27, 2016 Board Presentation [EFH06365761 at EFH06365784].



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made aware of the challenges associated with subletting the Energy Plaza square footage that

would potentially be vacated by EFH Corporate Services and Luminant. In addition, and as part

of that evaluation, the Company projected move costs between $16 and $24 million.22

         20.      While EFH Properties employs Jones Lang LaSalle to attract tenants and fill

vacancies, the impending expiration of the Lease has and will likely continue to hinder their

efforts to fill space. There are less than six (6) years remaining on the life of the Lease. As a

result, EFH Properties can only offer a sublease for that amount of time. It is my understanding

that large corporate tenants typically look for longer term leasing opportunities given the costs to

renovate and remodel. This problem will likely only get worse as the remaining life of the Lease

decreases between now and 2022. In addition, Energy Plaza is an unconventional shape—it is a

triangular building.23

         21.     Further, it is my general understanding that downtown Dallas has a high rate of

corporate vacancy: there are currently four (4) entirely vacant, unsubleased floors at Energy

Plaza; and, as part of the evaluation in 2014 and early 2015 of downtown properties that could

house EFH Corporate Services and Luminant, Jones Lang LaSalle informed us that at least two

large suitable buildings in downtown Dallas were at least 50% unoccupied, but had been unable

to find tenants.24

         22.     As part of our evaluation of strategic alternatives for EFH Properties in 2014 and

early 2015, EFH Properties approached the Owner-Lessor to attempt to restructure the Lease


22
     See DX464 Aug. 11, 2014 Texas Competitive Electric Holdings Cost Comparison Analysis, Jones Lang LaSalle
     [EFH05620329].
23
     See DX574 Nov. 2, 2004 Letter from Zurich Global Investment Advisors to TXU re Lease Dated February 14,
     2002 [EFH06365193 at EFH06365365-EFH06365402].
24
     See DX464 Aug. 11, 2014 Texas Competitive Electric Holdings Cost Comparison Analysis, Jones Lang LaSalle
     [EFH05620329].



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Documents to reflect a more traditional landlord-tenant relationship in which:              (1) EFH

Properties would assign all of its subleases to the Owner-Lessor; (2) EFH Properties would no

longer be responsible for the costs associated with operating, maintaining, and subleasing Energy

Plaza; (3) EFH Properties would enter into a new 10-12 year lease for the space that EFH

Corporate Services and Luminant occupied at a renegotiated rent; and (4) the Owner-Lessor

would be free to negotiate with the FDIC and the other subtenants for renewals beyond 2022 and

otherwise rent the unoccupied space in Energy Plaza and retain 100% of rental income. The

Owner-Lessor declined to substantively engage on this proposal.

         23.     I understand that every CEO of the Company since 2006 has sought to find

alternative office space.

V.       EFH Properties’ Financial Outlook is Poor.

         24.     EFH Properties’ assets primarily include the prepaid portion of the Lease, cash on

hand, and leasehold improvements (which will revert to the Owner-Lessor in 2022).25

Liabilities primarily include the $158 million EFH Corp. Receivable, as well as an additional

payable of approximately $74 million from EFH Properties to EFH Corp, which is a prepetition

money pool advance listed on the balance sheet as subject to compromise.26

         25.     EFH Properties’ cash flows are expected to decrease in the near future.27 It is

anticipated that sublease revenues will decrease over the next several years due to: (a) the

FDIC’s indications that it will reduce its presence in Energy Plaza and (b) the expiration of

Oncor’s sublease (and, by extension, the Luminant sub-sublease).

25
     See DX356 Apr. 30, 2016 EFH Properties Balance Sheet [EFH06360659].
26
     See id. at EFH06360660.
27
     See DX048 July 27, 2016 Board Presentation [EFH06365761 at EFH06365784]; DX385 Sept. 2015 2016-22
     LRP Review - EFH Board [EFH06365622].



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         26.      During the financial crisis of 2007 and 2008, the FDIC increased the number of

floors under lease at Energy Plaza as a result of their growing demand and workforce. Recently,

however, the FDIC has signalled that they are unlikely to renew the 21 floors under their

sublease. Instead, due to their contracting workforce, they have expressed preliminary interest in

renewing only 13 to 14 of the 21 floors under lease. In addition, through our search for

replacement space in late 2014 and early 2015, I understand that market rent as of that time was

approximately $15 per square foot in downtown Dallas.28 The FDIC is currently paying $16.65

to $16.90 per square foot pursuant to its sublease, depending on the floor.

         27.      Further, Oncor’s sublease expires in March 2017. Oncor does not actually occupy

any of its subleased space. Instead, Oncor sub-subleases its subleased space to Luminant at a

significant loss—approximately $1.1 million every year.29                  As a result, Oncor will not be

renewing its sublease upon expiration in March 2017.

         28.      These reductions in revenue will not, however, significantly reduce expenses at

Energy Plaza, the majority of which are overhead expenses.                       As further detailed in the

Declaration of Paul Keglevic in Support of Confirmation of the Third Amended Plan of

Reorganization, EFH Properties projects that it will be approximately net zero cash flow from

2018 onward, excluding the potential return of an approximate $5 million deposit being held in

an escrow account at Wells Fargo. This cash flow neutral projection does not assume costs

associated with unanticipated capital expenditures that may occur before expiration of the Lease,

such as the cost to replace a failed cooling tower or one or more chillers, the cost to replace a

28
     See DX464 Aug. 11, 2014 Texas Competitive Electric Holdings Cost Comparison Analysis, Jones Lang LaSalle
     [EFH05620329].
29
     See DX048 July 27, 2016 Board Presentation, [EFH06365761 at EFH06365783]. The Luminant to Oncor sub-
     sublease rent reflected in the chart in paragraph 15 reflects base rent only—and including all other expenses
     totals $2.3 million.



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roof, or the cost of other repairs to the HVAC system, lobby escalator or elevators, sidewalk,

parking garage, or other building necessities, any one of which could exacerbate the high costs

associated with operating and maintaining the building.




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my information and belief.


Dated: August 13, 2016

                                                    /s/ Kristopher E. Moldovan
                                                Name: Kristopher E. Moldovan

                                                Title: Assistant Treasurer

                                                Company: EFH Properties Company




                                                15
